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                            :\.              thal an enterprise existed as alh:ged in the Superseding                                         Indictment:


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                                                                                       I

        B.       that the enterprise affected interstate or foreign cornmercel

        C.       that the charged enterprise engaged in "racketeering ac ivity" as defined in 18
                 U.S.C. ~~ 1959(b)(I) and 1961(1);

        D.       that on August 28, 2015 the defendant committed maiming of the victim; and

        E.       that crime of violence was committed for the purpose of maintaining or increasing
                 position in the charged enterprise.                      .

In addition, the conduct occurred in the District of Maryland.

                                                    Penalties

        3.      The maximum sentence provided by statute for the:, offense to which the
Defendant is pleading guilty is as follows: thirty (30) years imprisonment, followed by a period
of supervised release of five (5) years, and a $250,000 fine. In addition,: the Defendant must pay
$100.00 as a special assessment pursuant to 18 U.S.C. 9 3013, which will be due and should be
paid at or before the time of sentencing. This Court may also order him to make restitution
pursuant to 18 U.S.C. 99 3663, 3663A, and 3664.1 If a fine or restitution is imposed, it shall be
payable immediately, unless, pursuant to 18 U.S.C. 9 3572(d), the Court orders otherwise. The
Defendant understands that if he serves a term of imprisonment, is released on supervised
release, and then violates the conditions of his supervised release, his supervised release could be
revoked - even on the last day of the term - and the Defendant could be returned to custody to
serve another period of incarceration and a new term of supervised release. The Defendant
understands that the Bureau of Prisons has sole discretion in designating the institution at which
the Defendant will serve any term of imprisonment imposed.

                                               Waiver of Rights

        4.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without a jury, if the Defendant, this Office, and the Court all agreed.

               b.     If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community.         Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise

                    Pursuant to 18 U.S.C. ~ 3612, if the COU" imposes a fine in excess of$2,500 that remains unpaid
15 days after it is imposed, the Defendant shall be charged interest on that fine, unless the Coun modifies the
interest payment in accordance with 18 U.S.C. ~ 3612(1)(3).


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unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent, and
that presumption could be overcome only by proof beyond a reasonable doubt.

                c.    If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.

                 d.      The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.
                                                                           I
               e.      If the Defendant :were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the
verdict and the Court's decisions.

               f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have
to answer the Court's questions both about the rights he is giving up and about the facts of his
case. Any statements the Defendant makes during such a hearing would not be admissible
against him during a trial except in a criminal proceeding for peljury or false statement.

                 g.     If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

                h.      By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The Defendant
recognizes that if he is not a citizen of the United States, pleading guilty may have consequences
with respect to his immigration status. Under federal law, conviction for a broad range of crimes
can lead to adverse immigration consequences, including automatic removal from the United
States. Removal and other immigration consequences are the subject of a separate proceeding,
however, and the Defendant understands that no one, including his attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. Defendant nevertheless
affirms that he wants to plead guilty regardless of any potential immigration consequences.




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                             Advisory Sentencing Guidelhies Apply

        5.     The Defendant understands that the Court will detennine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing
Refonn Act of 1984 at 18 U.S.C. ~ 3551-3742 (excepting 18 U.S.C. ~3553(b)(1) and 3742(e»
and 28 U.S.C. ~~ 991 through 998. The Defendant further understands that the Court will
impose a sentence pursuant to the Sentencing Refonn Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.

                         Factual and Advisory Guidelines Stipulation

       6.      This Office and the Defendant understand, agree and stipulate as follows:
                                                                            ;


                                 A. STATEMENT OF FACTS

        This Office and the Defendant understand, agree and stipulate to the Statement of Facts
contained in Attachment A, which this Office would prove beyond a reasonable doubt were the
case to proceed to trial.

                               B. GUIDELINES STIPULATION

        The Defendant and this Office agree that, pursuant to U.S.S.G. 9 2A2.l(a)(I), because the
object of the offense would have constituted first degree murder, the base offense level is thirty-
three (33). Further, that level is increased by four (4) levels because the victim sustained
pennanent or life-threatening bodily injury.


                          c. ACCEPTANCE        OF RESPONSIBILITY

         This Office does not oppose a two-level reduction in the Defendant's adjusted offense
level, based upon the Defendant's apparent prompt recognition and affinnative acceptance of
personal responsibility for his criminal conduct. This Office will make a motion pursuant to S
3EI.I(b) for an additional one-level decrease in recognition of the Defendant's timely
notification of his intention to plead guilty. This Office may oppose any adjustment for
acceptance of responsibility if the Defendant (a) fails to admit each and every item in the factual
stipulation; (b) denies involvement in the offense; (c) gives conflicting statements about his
involvement in the offense; (d) is untruthful with the Court, this Office, or the United States
Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f) engages in
any criminal conduct between the date of this agreement and the date of sentencing; or (g)
attempts to withdraw his plea of guilty.

       As a result, the Defendant's adjusted offense level is thirty-four       (34).


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        7.     The defendant understands that there is no agreement as ~ohis criminal history or
criminal history category, and that his criminal history could alter hisloffense level if he is a
career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.                                 I
        8.      With respect to the calculation of criminal history, and the calculation of the
advisory guidelines range, no other offense characteristics, sentenCing guidelines factors,
potential departures or adjustments set forth in the United States Sentencing Guidelines will be
raised or are in dispute. The parties reserve the right to bring to the COo/t's attention at the time
of sentencing, and the Court will be entitled to consider, all relevant information
                                                                           ,          concerning the
Defendant's background, character and conduct and any other factors relevant to the application
of 18 U.S.C. ~ 3553(a), including the conduct that is the subject of the counts of the Superseding
Indictment that this Office has agreed to dismiss at sentencing.

                                         Waiver of Appeal

        9.     In exchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

       a)      The Defendant knowingly waives all right, pursuant to 28 U.S.C. ~ 1291
               or otherwise, to appeal the Defendant's conviction;

       b)      The Defendant and this Office knowingly waive all right, pursuant to 18
               U.S.C. ~ 3742 or otherwise, to appeal whatever sentence is imposed
               (including the right to appeal any issues that relate to the establishment of
               the advisory guidelines range, the determination of the defendant's
               criminal history, the weighing of the sentencing factors, and the decision
               whether to impose and the calculation of any term of imprisonment, fine,
               order of forfeiture, order of restitution, and term or condition of supervised
               release);

       c)      Nothing in this agreement shall be construed to prevent the Defendant or
               this Office from invoking the provisions of Federal Rule of Criminal
               Procedure 35(a), or from appealing from any decision thereunder, should a
               sentence be imposed that resulted from arithmetical, technical, or other
               clear error;
                                                                           ;
       d)      The Defendant waives any and all rights under the Freedom of
               Information Act relating to the investigation and prosecution of the above-
               captioned matter and agrees not to file any request for documents from
               this Office or any investigating agency .




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                            Obstruction    or Other Violations of Law

         10.     The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under ussa !l 3CI.l, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in viol~tion of federal, state or
local law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the Defendant's! obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance of the
evidence. The Defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.

                                          Court Not a Party
                                                                           I
        11.     The Defendant expressly understands that the Court' is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the Unit~ States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. Thb Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the
Court will consider the stipulation, together with the results of the presentence investigation, and
any other relevant information. The Defendant understands that the CoUrt is under no obligation
to accept this Office's recommendations, and the Court has the power to: impose a sentence up to
and including the statutory maximum stated above. The Defendant understands that if the Court
ascertains factors different from those contained in the stipulation set forth above, or if the Court
should impose any sentence up to the maximum established by statute, the Defendant cannot, for
that reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations
under this agreement. The Defendant understands that neither the prosecutor, his counsel, nor
the Court can make a binding prediction, promise, or representation as to what guidelines range
or sentence the Defendant will receive. The Defendant agrees that rio one has made such a
binding prediction or promise.                                             I.
                                          Entire Agreement

        12:    This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Supplement,: constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,

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promises, undertakings or understandings between the Dei\:ndant and this orncc othcr than thosc
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and signcd by all parties.


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                                                                   Rod J. Rosenstein
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Date                                                                           Teresa Whalen, !'sq"




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                                       ATTACHMENT         A

                                       Statement of Facts

        On August 28, 2015, Elmin Portillo-Guiterrez maimed, and aided and abetted the
maiming of, William Chacon-Dimas for the purpose of maintaining or increasing position in an
enterprise engaged in racketeering activity, to wit, the Fulton Locos Salvatruchas ("FLS") clique
of the MS-13 street gang, in violation of 18 U .s.c. 9 1959. The purpoSe of the maiming was to
murder Mr. Chacon-Dimas.                                                  I


        At the time of the assault, MS-13 was an international gang operating in the United
States, EI Salvador, and other countries. It was engaged in violent crimes, in addition to
narcotics sales and extortion. FLS was a clique of MS-13 that operated in Maryland and in EI
Salvador. Narcotics sales affected interstate or foreign commerce. In addition, the proceeds
from Maryland-based narcotics sales and extortion were, at least in part, provided to gang leaders
in EI Salvador. As such it was an "enterprise," as defined by 18 U.S.C. 9 1959(b)(2), and it
engaged in, or its activities affected, interstate or foreign commerce.

       At the time of the assault, Mr. Portillo-Guiterrez was a member of the FLS clique of MS-
13 and participated in the assault for the purpose of maintaining or increasing his position in the
gang.

         On August 28, 2015, Mr. William Chacon-Dimas and his girlfriend returned home to
1204 Alban Court, Frederick, Maryland. When they entered their apartment, they found Mr.
Portillo-Guiterrez and several other FLS members waiting for them with knives and machetes.
Mr. Portillo-Guiterrez and his associates believed that Mr. Chacon-Dimas was a leader of "18th
Street," a rival gang operating in Frederick, Maryland. Mr. Portillo-Guiterrez held and assaulted
Mr. Chacon-Dimas's girlfriend while his co-conspirators attacked Mr. Chacon-Dimas with a
machete and knives.

        During the assault, Mr. Chacon-Dimas crawled to the door of his girlfriend's daughter's
room, where he was further attacked with the machete and left for dead. When he thought his
attackers were gone, he yelled for someone to call the police and was again attacked with the
machete so he again pretended to be dead. When the attackers were gone, Mr. Chacon-Dimas
asked his girlfriend's daughter for water and to call 911.

        When the police arrived they provided treatment and transported Mr. Chacon-Dimas to
the hospital. Both of Chacon-Dimas's hands were nearly severed during the attack and he
suffered several slashing and stabbing wounds to his face, neck, and torso. Doctors were able to
reattach his hands. Since the attack he has regained some use of his left hand but still has no
function in his right hand.




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                                                                         I

        Mr. Chacon-Dimas's girlfriend was punched, choked, and cut in ~e face with a knife. In
addition, her fingers were crushed in the door. She still has only limited use of the fingers that
were crushed.




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